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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                   )
    In re:                                                         )      Chapter 11
                                                                   )
    CENTER FOR AUTISM AND RELATED                                  )      Case No. 23-90709 (DRJ)
                            1
    DISORDERS, LLC, et al.,                                        )
                                                                   )
                              Debtors.                             )      (Joint Administration Requested)
                                                                   )
                                                                   )      Re: Docket No.

                      ORDER (I) AUTHORIZING, EFFECTIVE
               AS OF THE REJECTION DATE, (A) THE REJECTION OF
             CERTAIN UNEXPIRED LEASES AND (B) ABANDONMENT OF
        CERTAIN PERSONAL PROPERTY, AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), authorizing, effective as of the

Rejection Date; (a) the rejection of certain unexpired nonresidential real property leases, including

any guarantees thereof and any amendments, modifications, subleases, or termination agreements

thereto, as set forth on Schedule 1, attached hereto (each, a “Lease” and, collectively,

the “Leases”); and (b) the abandonment of certain equipment, fixtures, furniture, or other personal

property (the “Personal Property”) that may be located at the premises of each property subject to

a rejected Lease, (the “Premises”); and (c) granting related relief, all as more fully set forth in the

Motion; and upon the First Day Declaration; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Center for Autism and Related Disorders, LLC (1512); CARD Holdings, LLC (1453); CARD
      Intermediate Holdings I, LLC (N/A); CARD Intermediate Holdings II, LLC (3953); and SKILLS Global, LLC
      (4192). The location of the Debtors’ principal place of business is 9089 S Pecos Rd., Suite 3600, Henderson,
      Nevada 89074.

2
       Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.
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to 28 U.S.C. § 157(b); and this Court having found that it may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court, if any, and this

Court having determined that the legal and factual bases set forth in the Motion establish just cause

for the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.      Pursuant to section 365 of the Bankruptcy Code, each of the Leases is and shall be

deemed rejected as of the Rejection Date.

        2.      The Debtors are authorized, in consultation with the DIP Agent, to abandon any

Personal Property that may be located at the Premises free and clear of all liens, claims,

encumbrances, interests, and rights of the Debtors, and all such property is deemed abandoned

effective as of the Rejection Date. The applicable counterparty to each Lease is authorized to

dispose of the abandoned Personal Property without notice or liability to any party.

        3.      Each Counterparty to each Lease must file a proof of claim, if at all, on or before

the later of (a) the deadline for filing proofs of claim established in these chapter 11 cases and

(b) thirty (30) days after the entry of this Order, or else be forever barred.

        4.      Nothing contained herein or any actions taken pursuant to such relief requested is

intended or shall be construed as: (a) an admission as to the amount of, basis for, or validity of


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any claim against a Debtor entity under the Bankruptcy Code or other applicable nonbankruptcy

law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute any claim on any

grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Motion or any order granting the relief

requested by this Motion or a finding that any particular claim is an administrative expense claim

or other priority claim; (e) a request or authorization to assume, adopt, or reject any agreement,

contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the

validity, priority, enforceability, or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of the Debtors’, or any

other party in interest’s, rights under the Bankruptcy Code or any other applicable law; or (h) a

concession by the Debtors that any liens (contractual, common law, statutory, or otherwise) that

may be satisfied pursuant to the relief requested in this Motion are valid, and the rights of all parties

in interest are expressly reserved to contest the extent, validity, or perfection or seek avoidance of

all such liens. If the Court grants the relief sought herein, any payment made pursuant to the

Court’s order is not intended and should not be construed as an admission as to the validity of any

particular claim or a waiver of the Debtors’ or any other party in interest’s rights to subsequently

dispute such claim.

        5.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

        6.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.




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       7.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Houston, Texas
 Dated: ___________, 2023

                                                    DAVID R. JONES
                                                    UNITED STATES BANKRUPTCY JUDGE




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                                                Schedule 1

                                             Rejected Leases1




1
    For the avoidance of doubt, the Leases referenced herein include any guaranties thereof and any amendments,
    modifications, subleases, or termination agreements thereto.
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                                                                                    Rejection
 #            Counterparty                Debtor                Description
                                                                                      Date
                                   Center For Autism and
1.     Wyoming Office Park, LLC                               Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
                                   Center For Autism and     Lease Termination
2.     Wyoming Office Park, LLC                                                     6/11/2023
                                   Related Disorders, LLC       Agreement
       G&C Mansell Investors,      Center For Autism and
3.                                                            Real Estate Lease     6/11/2023
       LLC                         Related Disorders, LLC
       G&C Mansell Investors,      Center For Autism and     Lease Termination
4.                                                                                  6/11/2023
       LLC                         Related Disorders, LLC       Agreement
                                   Center For Autism and
5.     4319jc, LLC                                            Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
                                   Center For Autism and     Lease Termination
6.     4319jc, LLC                                                                  6/11/2023
                                   Related Disorders, LLC       Agreement
                                   Center For Autism and
7.     8700 Creekside, LLC                                    Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
                                   Center For Autism and
8.     Cummings Properties, LLC                               Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
       Ap Concord 575 Owner        Center For Autism and
9.                                                            Real Estate Lease     6/11/2023
       LLC                         Related Disorders, LLC
       Ap Concord 575 Owner        Center For Autism and     Lease Termination
10.                                                                                 6/11/2023
       LLC                         Related Disorders, LLC       Agreement
                                   Center For Autism and
11.    Mitel Networks, Inc.                                 Real Estate Sub Lease   6/11/2023
                                   Related Disorders, LLC
                                   Center For Autism and
12.    Douglas Emmet 2000, LLC                                Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
       Elizabethtown Health        Center For Autism and
13.                                                           Real Estate Lease     6/11/2023
       Center, Inc.                Related Disorders, LLC
                                   Center For Autism and
14.    Daniel Kersey                                          Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
                                   Center For Autism and
15.    Diamond Parking, Inc.                                  Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
                                   Center For Autism and
16.    Access Engineering LLC                               Real Estate Sub Lease   6/11/2023
                                   Related Disorders, LLC
                                   Center For Autism and
17.    Shaw/Blythe, LP                                        Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
       Nucleus Medical I, LLC
                                   Center For Autism and
18.    (property acquired by GBT                              Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
       Laguna, LLC)
                                   Center For Autism and     Lease Termination
19.    GBT Laguna, LLC                                                              6/11/2023
                                   Related Disorders, LLC       Agreement
       Greenville Marketplace      Center For Autism and
20.                                                           Real Estate Lease     6/11/2023
       LLC                         Related Disorders, LLC
                                   Center For Autism and
21.    Felix Continental, LLC                                 Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
                                   Center For Autism and     Lease Termination
22.    Felix Continental, LLC                                                       6/11/2023
                                   Related Disorders, LLC       Agreement
       Seem Salwan Sharma And
                                   Center For Autism and
23.    Seema Salwan Sharma                                    Real Estate Lease     6/11/2023
                                   Related Disorders, LLC
       Living Trust
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                                                                                   Rejection
 #            Counterparty                 Debtor               Description
                                                                                     Date
                                    Center For Autism and
24.    Deer Crossing Realty Trust                            Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
                                    Center For Autism and    Lease Termination
25.    Deer Crossing Realty Trust                                                  6/11/2023
                                    Related Disorders, LLC      Agreement
                                    Center For Autism and
26.    Monterey Park, Ltd.                                   Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
                                    Center For Autism and    Lease Termination
27.    Monterey Park, Ltd.                                                         6/11/2023
                                    Related Disorders, LLC      Agreement
                                    Center For Autism and
28.    Beta Madison, Inc.                                    Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
       Mob Holdings 1, LLC          Center For Autism and    Real Estate Lease /
29.                                                                                6/11/2023
       (f/k/a LLOLAR Properties)    Related Disorders, LLC      Amendment
                                    Center For Autism and
30.    318 Post Road LLC                                     Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
       Bison Millwork & Supply,     Center For Autism and
31.                                                          Real Estate Lease     6/11/2023
       Inc.                         Related Disorders, LLC
       L&B All Star Management,     Center For Autism and    Lease Termination
32.                                                                                6/11/2023
       LLC                          Related Disorders, LLC      Agreement
                                    Center For Autism and
33.    Baur I, LLC                                           Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
       Wisdom Pointe Partners,      Center For Autism and
34.                                                          Real Estate Lease     6/11/2023
       LLC                          Related Disorders, LLC
                                    Center For Autism and
35.    Naperville Riverview, LLC                             Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
                                    Center For Autism and
36.    Naperville Riverview, LLC                             Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
                                    Center For Autism and
37.    Cruise 224, LLC                                       Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
       Pomerado Plaza Partners,     Center For Autism and    Lease Termination
38.                                                                                6/11/2023
       LLC                          Related Disorders, LLC      Agreement
       Omni Combined W.E.,          Center For Autism and
39.                                                          Real Estate Lease     6/11/2023
       LLC                          Related Disorders, LLC
       Metro Park I, LLC
       (property acquired by IP     Center For Autism and
40.                                                          Real Estate Lease     6/11/2023
       DSC MOCO METRO               Related Disorders, LLC
       PARK, LLC)
       IP DSC Moco Metro Park,      Center For Autism and    Lease Termination
41.                                                                                6/11/2023
       LLC                          Related Disorders, LLC      Agreement
                                    Center For Autism and
42.    Park 5 Center, LLC                                    Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
                                    Center For Autism and    Real Estate Lease
43.    Park 5 Center, LLC                                                          6/11/2023
                                    Related Disorders, LLC      Extension
       Cranbrook Realty             Center For Autism and
44.                                                          Real Estate Lease     6/11/2023
       Investment Fund, L.P.,       Related Disorders, LLC
                                    Center For Autism and
45.    501 Thousand Oaks, LLC                                Real Estate Lease     6/11/2023
                                    Related Disorders, LLC
                                    Center For Autism and    Lease Termination
46.    Marin Sigmo, LLC                                                            6/11/2023
                                    Related Disorders, LLC      Agreement
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                                                                                       Rejection
 #            Counterparty                    Debtor                Description
                                                                                         Date
       Tigard Investment               Center For Autism and
47.                                                              Real Estate Lease     6/11/2023
       Properties, LLC                 Related Disorders, LLC
       Chase Hamilton, LLC
                                       Center For Autism and
48.    (property acquired by                                     Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
       Omninet Hamilton, LP)
                                       Center For Autism and    Lease Termination
49.    Omninet Hamilton, LP                                                            6/11/2023
                                       Related Disorders, LLC      Agreement
                                       Center For Autism and
50.    1100 H Street, LLC                                        Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
                                       Center For Autism and
51.    JIR Properties, Inc.                                      Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
       Colimbia Tract One, LLC
                                       Center For Autism and    Lease Termination
52.    (successor in interest to JJR                                                   6/11/2023
                                       Related Disorders, LLC      Agreement
       PROPERTIES, INC)
                                       Center For Autism and
53.    Cummings Properties, LLC                                  Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
       7125-7131 Ambassador,           Center For Autism and
54.                                                              Real Estate Lease     6/11/2023
       LLC                             Related Disorders, LLC
       Comprehensive Early             Center For Autism and
55.                                                             Real Estate Sublease   6/11/2023
       Autism Services, LLC            Related Disorders, LLC
                                       Center For Autism and
56.    Kew Realty Corporation                                    Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
       Milestone Pediatric             Center For Autism and
57.                                                             Real Estate Sublease   6/11/2023
       Therapy Services LLC            Related Disorders, LLC
                                       Center For Autism and
58.    Killeen South Pointe, Ltd.                                Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
                                       Center For Autism and
59.    Dang Wynn Medical Group                                  Real Estate Sublease   6/11/2023
                                       Related Disorders, LLC
                                       Center For Autism and
60.    Michael Marsh                                             Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
       Behaven Kids Lincoln,           Center For Autism and
61.                                                             Real Estate Sublease   6/11/2023
       LLC                             Related Disorders, LLC
                                       Center For Autism and
62.    Td Holding, LLC                                           Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
       Cow Creek Health &              Center For Autism and
63.                                                             Real Estate Sublease   6/11/2023
       Wellness Center                 Related Disorders, LLC
                                       Center For Autism and
64.    1601 PCH LLP                                              Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
                                       Center For Autism and
65.    Five Oaks Properties, LLC                                 Real Estate Lease     6/11/2023
                                       Related Disorders, LLC
